         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 1 of 12 Page ID #:1




 1   SO. CAL. EQUAL ACCESS GROUP
     Jason J. Kim (SBN 190246)
 2   Jason Yoon (SBN 306137)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 252-8008
 4   Facsimile: (213) 252-8009
     scalequalaccess@yahoo.com
 5
     Attorneys for Plaintiff
 6   LEEMANUEL WEILCH
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     LEEMANUEL WEILCH,                          Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   LOADED CAFÉ LB, INC.; EDWARD               ACT, 42 U.S.C. §12131 et seq.;
15   YAWITZ; and DOES 1 to 10,                  2. CALIFORNIA’S UNRUH CIVIL
                  Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24
25
           Plaintiff LEEMANUEL WEILCH (“Plaintiff”) complains of Defendants
26
     LOADED CAFÉ LB, INC.; EDWARD YAWITZ; and DOES 1 to 10 (“Defendants”) and
27
     alleges as follows:
28




                                   COMPLAINT FOR DAMAGES - 1
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 2 of 12 Page ID #:2




 1                                 JURISDICTION AND VENUE
 2         1.     The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, Los Angeles County,
10   California, and that Plaintiff’s causes of action arose in this district.
11                                             PARTIES
12         4.     Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff suffers from complete paraplegia due to a spinal
14   cord injury and requires the use of a wheelchair at all times when traveling in public.
15         5.     Defendants are, or were at the time of the incident, the real property owners,
16   business operators, lessors and/or lessees of the real property for LOADED CAFÉ
17   (“Business”) located at or about 1101 Pacific Coast Highway, Long Beach, California.
18         6.     The true names and capacities, whether individual, corporate, associate or
19   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21   Court to amend this Complaint when the true names and capacities have been
22   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23   fictitiously named Defendants are responsible in some manner, and therefore, liable to
24   Plaintiff for the acts herein alleged.
25         7.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
26   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
28




                                    COMPLAINT FOR DAMAGES - 2
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 3 of 12 Page ID #:3




 1   the things alleged herein was acting with the knowledge and consent of the other
 2   Defendants and within the course and scope of such agency or employment relationship.
 3         8.     Whenever and wherever reference is made in this Complaint to any act or
 4   failure to act by a defendant or Defendants, such allegations and references shall also be
 5   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6   and severally.
 7                                   FACTUAL ALLEGATIONS
 8         9.     In or about December of 2020, Plaintiff visited the Business. In or about
 9   January of 2021, Plaintiff went to the Business again. The Business is a restaurant
10   business establishment, which is open to the public, and is a place of public
11   accommodation and affects commerce through its operation. Defendants provide parking
12   spaces for customers.
13         10.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with his ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business. To the extent
16   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
17   limited to, the following:
18                a.     Defendants failed to maintain the parking spaces designated for
19                       persons with disabilities to comply with the federal and state
20                       standards. Defendants failed to maintain the paint on the ground as
21                       required.
22                b.     Defendants failed to maintain the parking spaces designated for
23                       persons with disabilities to comply with the federal and state
24                       standards. Defendants failed to maintain the van accessible space
25                       designated for the persons with disabilities.
26                c.     Defendants failed to comply with the federal and state standards for
27                       the parking space designated for persons with disabilities. Defendants
28                       failed to provide the access aisles with level surface slopes.



                                     COMPLAINT FOR DAMAGES - 3
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 4 of 12 Page ID #:4




 1         11.    These barriers and conditions denied Plaintiff the full and equal access to the
 2   Business. Plaintiff wishes to patronize the Business. However, Plaintiff is deterred from
 3   visiting the Business because his knowledge of these violations prevents him from
 4   returning until the barriers are removed.
 5         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 6   there are additional barriers to accessibility at the Business after further site inspection.
 7   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 8   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 9         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
10   knew that particular barriers render the Business inaccessible, violate state and federal
11   law, and interfere with access for the physically disabled.
12         14.    At all relevant times, Defendants had and still have control and dominion
13   over the conditions at this location and had and still have the financial resources to
14   remove these barriers without much difficulty or expenses to make the Business
15   accessible to the physically disabled in compliance with ADDAG and Title 24
16   regulations. Defendants have not removed such barriers and have not modified the
17   Business to conform to accessibility regulations.
18                                   FIRST CAUSE OF ACTION
19       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
20         15.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
23   shall be discriminated against on the basis of disability in the full and equal enjoyment of
24   the goods, services, facilities, privileges, advantages, or accommodations of any place of
25   public accommodation by any person who owns, leases, or leases to, or operates a place
26   of public accommodation. See 42 U.S.C. § 12182(a).
27         17.    Discrimination, inter alia, includes:
28




                                     COMPLAINT FOR DAMAGES - 4
     Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 5 of 12 Page ID #:5




 1          a.    A failure to make reasonable modification in policies, practices, or
 2                procedures, when such modifications are necessary to afford such
 3                goods, services, facilities, privileges, advantages, or accommodations
 4                to individuals with disabilities, unless the entity can demonstrate that
 5                making such modifications would fundamentally alter the nature of
 6                such goods, services, facilities, privileges, advantages, or
 7                accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8          b.    A failure to take such steps as may be necessary to ensure that no
 9                individual with a disability is excluded, denied services, segregated or
10                otherwise treated differently than other individuals because of the
11                absence of auxiliary aids and services, unless the entity can
12                demonstrate that taking such steps would fundamentally alter the
13                nature of the good, service, facility, privilege, advantage, or
14                accommodation being offered or would result in an undue burden. 42
15                U.S.C. § 12182(b)(2)(A)(iii).
16          c.    A failure to remove architectural barriers, and communication barriers
17                that are structural in nature, in existing facilities, and transportation
18                barriers in existing vehicles and rail passenger cars used by an
19                establishment for transporting individuals (not including barriers that
20                can only be removed through the retrofitting of vehicles or rail
21                passenger cars by the installation of a hydraulic or other lift), where
22                such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23          d.    A failure to make alterations in such a manner that, to the maximum
24                extent feasible, the altered portions of the facility are readily
25                accessible to and usable by individuals with disabilities, including
26                individuals who use wheelchairs or to ensure that, to the maximum
27                extent feasible, the path of travel to the altered area and the
28                bathrooms, telephones, and drinking fountains serving the altered



                            COMPLAINT FOR DAMAGES - 5
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 6 of 12 Page ID #:6




 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area are not disproportionate to the overall alterations in terms of cost
 5                       and scope. 42 U.S.C. § 12183(a)(2).
 6         18.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be van parking space. 2010 ADA Standards § 208.2.4.
12         19.    Under the ADA, the method and color of marking are to be addressed by
13   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14   Building Code (“CBC”), the parking space identification signs shall include the
15   International Symbol of Accessibility. Parking identification signs shall be reflectorized
16   with a minimum area of 70 square inches. Additional language or an additional sign
17   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18   parking space identification sign shall be permanently posted immediately adjacent and
19   visible from each parking space, shall be located with its centerline a maximum of 12
20   inches from the centerline of the parking space and may be posted on a wall at the
21   interior end of the parking space. See CBC § 11B-502.6, et seq.
22         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
23   each entrance to an off-street parking facility or immediately adjacent to on-site
24   accessible parking and visible from each parking space. The additional sign shall not be
25   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27   designated accessible spaces not displaying distinguishing placards or special license
28




                                   COMPLAINT FOR DAMAGES - 6
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 7 of 12 Page ID #:7




 1   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2   See CBC § 11B-502.8, et seq.
 3         21.    For the parking spaces, access aisles shall be marked with a blue painted
 4   borderline around their perimeter. The area within the blue borderlines shall be marked
 5   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 6   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
 7   be painted on the surface within each access aisle in white letters a minimum of 12 inches
 8   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 9   11B-502.3.3.
10         22.    The surface of each accessible car and van space shall have surface
11   identification complying with either of the following options: The outline of a profile
12   view of a wheel chair with occupant in white on a blue background a minimum 36” wide
13   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
14   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
15   length of the parking space and its lower side or corner aligned with the end of the
16   parking space length or by outlining or painting the parking space in blue and outlining
17   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
18   occupant. See CBC § 11B-502.6.4, et seq.
19         23.    Here, Defendants failed to maintain the painted markings on the ground as
20   the “NO PARKING” marking, blue lines, and the International Symbol of Accessibility
21   were severely worn, damaged and faded.
22         24.      Under the 1991 Standards, parking spaces and access aisles must be level
23   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
24   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
25   shall be part of an accessible route to the building or facility entrance and shall comply
26   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
27   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
28




                                   COMPLAINT FOR DAMAGES - 7
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 8 of 12 Page ID #:8




 1   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 2   directions. 1991 Standards § 4.6.3.
 3         25.    Here, the access aisles are not level with the parking spaces. Under the 2010
 4   Standards, access aisles shall be at the same level as the parking spaces they serve.
 5   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 6   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 7   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 8         26.    A public accommodation shall maintain in operable working condition those
 9   features of facilities and equipment that are required to be readily accessible to and usable
10   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
11   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
12   violation of Plaintiff’s rights under the ADA and its related regulations.
13         27.    The Business has denied and continues to deny full and equal access to
14   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
15   discriminated against due to the lack of accessible facilities, and therefore, seeks
16   injunctive relief to alter facilities to make such facilities readily accessible to and usable
17   by individuals with disabilities.
18                                SECOND CAUSE OF ACTION
19                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
20         28.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
23   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
24   national origin, disability, medical condition, genetic information, marital status, sexual
25   orientation, citizenship, primary language, or immigration status are entitled to the full
26   and equal accommodations, advantages, facilities, privileges, or services in all business
27   establishments of every kind whatsoever.”
28




                                     COMPLAINT FOR DAMAGES - 8
         Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 9 of 12 Page ID #:9




 1         30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 2   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 3   for each and every offense for the actual damages, and any amount that may be
 4   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 5   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 6   attorney’s fees that may be determined by the court in addition thereto, suffered by any
 7   person denied the rights provided in Section 51, 51.5, or 51.6.
 8         31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 9   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
10   shall also constitute a violation of this section.”
11         32.    The actions and omissions of Defendants alleged herein constitute a denial
12   of full and equal accommodation, advantages, facilities, privileges, or services by
13   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
14   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
15   51 and 52.
16         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
17   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
18   damages as specified in California Civil Code §55.56(a)-(c).
19                                  THIRD CAUSE OF ACTION
20                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
21         34.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
24   entitled to full and equal access, as other members of the general public, to
25   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
26   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
27   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
28   of transportation (whether private, public, franchised, licensed, contracted, or otherwise



                                     COMPLAINT FOR DAMAGES - 9
        Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 10 of 12 Page ID #:10




 1   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 2   places of public accommodations, amusement, or resort, and other places in which the
 3   general public is invited, subject only to the conditions and limitations established by
 4   law, or state or federal regulation, and applicable alike to all persons.
 5         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 6   corporation who denies or interferes with admittance to or enjoyment of public facilities
 7   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 8   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 9   the actual damages, and any amount as may be determined by a jury, or a court sitting
10   without a jury, up to a maximum of three times the amount of actual damages but in no
11   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
12   determined by the court in addition thereto, suffered by any person denied the rights
13   provided in Section 54, 54.1, and 54.2.
14         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
15   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
16   constitute a violation of this section, and nothing in this section shall be construed to limit
17   the access of any person in violation of that act.
18         38.    The actions and omissions of Defendants alleged herein constitute a denial
19   of full and equal accommodation, advantages, and facilities by physically disabled
20   persons within the meaning of California Civil Code § 54. Defendants have
21   discriminated against Plaintiff in violation of California Civil Code § 54.
22         39.    The violations of the California Disabled Persons Act caused Plaintiff to
23   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
24   statutory damages as specified in California Civil Code §55.56(a)-(c).
25                                FOURTH CAUSE OF ACTION
26                                UNFAIR COMPETITION ACT
27         40.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                   COMPLAINT FOR DAMAGES - 10
        Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 11 of 12 Page ID #:11




 1          41.    Defendants have engaged in unfair competition, unfair or fraudulent
 2   business practices, and unfair, deceptive, untrue or misleading advertising in violation of
 3   the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
 4          42.    Defendants engage in business practices and policies that create systemic
 5   barriers to full and equal access for people with disability in violation of state and federal
 6   law.
 7          43.    The actions and omissions of Defendants are unfair and injurious to
 8   Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 9   unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
10   provided with goods and services provided to other consumers. Plaintiff seeks relief
11   necessary to prevent Defendants’ continued unfair business practices and policies and
12   restitution of any month that Defendants acquired by means of such unfair competition,
13   including profits unfairly obtained.
14                                   FIFTH CAUSE OF ACTION
15                                          NEGLIGENCE
16          44.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18          45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20   to the Plaintiff.
21          46.    Defendants breached their duty of care by violating the provisions of ADA,
22   Unruh Civil Rights Act and California Disabled Persons Act.
23          47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24   has suffered damages.
25                                     PRAYER FOR RELIEF
26          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27   Defendants as follows:
28




                                   COMPLAINT FOR DAMAGES - 11
        Case 2:21-cv-02296 Document 1 Filed 03/15/21 Page 12 of 12 Page ID #:12




 1         1.     For preliminary and permanent injunction directing Defendants to comply
 2   with the Americans with Disability Act and the Unruh Civil Rights Act;
 3         2.     Award of all appropriate damages, including but not limited to statutory
 4   damages, general damages and treble damages in amounts, according to proof;
 5         3.     Award of all reasonable restitution for Defendants’ unfair competition
 6   practices;
 7         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8   action;
 9         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10         6.     Such other and further relief as the Court deems just and proper
11                              DEMAND FOR TRIAL BY JURY
12         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
13   demands a trial by jury on all issues so triable.
14
15   Dated: March 15, 2021                   SO. CAL. EQUAL ACCESS GROUP
16
17
18                                           By:    _/s/ Jason J. Kim_______________
                                                    Jason J. Kim, Esq.
19                                                  Attorneys for Plaintiff
20
21
22
23
24
25
26
27
28




                                   COMPLAINT FOR DAMAGES - 12
